    Case 1:22-cv-02541-TNM Document 119 Filed 06/21/24 Page 1 of 32




                   UNITED STATES DISTRICT COURT
                       DISTRICT OF COLUMBIA


IN RE BED BATH & BEYOND             Case No. 1:22-cv-02541-TNM
CORPORATION SECURITIES
LITIGATION                          Hon. Trevor N. McFadden

                                    CLASS ACTION




             LEAD PLAINTIFF’S REPLY IN SUPPORT OF
   MOTION FOR CLASS CERTIFICATION AND APPOINTMENT OF CLASS
              REPRESENTATIVE AND CLASS COUNSEL
           Case 1:22-cv-02541-TNM Document 119 Filed 06/21/24 Page 2 of 32




                                                   TABLE OF CONTENTS
                                                                                                                                        Page

TABLE OF CONTENTS................................................................................................................. i

TABLE OF AUTHORITIES .......................................................................................................... ii

   I.     PRELIMINARY STATEMENT .........................................................................................1

 II.      FACTS RELEVANT TO CLASS CERTIFICATION ........................................................2

III.      EXAMPLES OF COMMON EVIDENCE THAT WILL BE USED AT TRIAL TO
          SUPPORT CLASS CLAIMS ............................................................................................5

IV.       ARGUMENT .......................................................................................................................7

           A.         Cohen Fails to Refute that Plaintiff and the Class are Entitled to a Presumption
                      of Reliance Under the Fraud on the Market Doctrine ............................................8

                             1. BBBY’s Securities Traded In an “Informationally Efficient” Market .....8

                             2. Cohen Concedes Most Cammer and Krogman Factors Are Met ...........10

                             3. Cohen Fails to Show any Deficiencies in Cammer III and V .................10

                B. Cohen Fails to Carry his Heavy Burden to Rebut the Basic Presumption.............16

                C. Cohen’s Claims Concerning Damages Are Meritless ...........................................18

 V.       Plaintiff’s Claims Are Typical of the Class ......................................................................20

VI.       Plaintiff Will Fairly and Adequately Protect the Interests of the Class .............................23

VII.      Conclusion .........................................................................................................................25




                                                                      i
           Case 1:22-cv-02541-TNM Document 119 Filed 06/21/24 Page 3 of 32




                                               TABLE OF AUTHORITIES
                                                                                                                               Page(s)

Cases

*Affiliated Ute Citizens of Utah v. United States,
   406 U.S. 128 (1972) .................................................................................................................19

*Amgen Inc. v. Conn. Ret. Plans & Trust Funds,
   568 U.S. 455 (2013) .................................................................................................................13

*Ap-Fonden v. Goldman Sachs Grp., Inc.,
   No. 18-CV-12084 (VSB) (KHP), 2024 U.S. Dist. LEXIS 64060
   (S.D.N.Y. Apr. 5, 2024) .....................................................................................................21, 23

*Basic Inc. v. Levinson,
   485 U.S. 224 (1988) ...................................................................................................................1

Bos. Ret. Sys. v. Alexion Pharms., Inc.,
   No. 3:16-cv-2127 (AWT), 2023 U.S. Dist. LEXIS 64812 (D. Conn. Apr. 13, 2023) .............16

*Cammer v. Bloom,
     711 F. Supp. 1264 (D.N.J. 1989) .........................................................................................1

*Carpenters Pension Tr. Fund of St. Louis v. Barclays PLC,
   310 F.R.D. 69 (S.D.N.Y. 2015) .........................................................................................12, 15

Cheney v. Cyberguard Corp.,
   213 F.R.D. 484 (S.D. Fla. 2003) ..............................................................................................12

City of Cape Coral Mun. Firefighters’ Ret. Plan v. Emergent Biosolutions, Inc.,
    322 F. Supp. 3d 676 (D. Md. 2018) ...........................................................................................9

City of Sunrise Firefighters’ Pension Fund v. Oracle Corp.,
    No. 18-cv-04844-BLF, 2022 U.S. Dist. LEXIS 83836 (N.D. Cal. May 9, 2022) ...................19

Comcast Corp. v. Behrend,
  569 U.S. 27 (2013) .............................................................................................................18, 19

*Del. Cty. Emples. Ret. Sys. v. Cabot Oil & Gas Corp.,
   No. H-21-2045, 2023 U.S. Dist. LEXIS 172506 (S.D. Tex. Sep. 27, 2023) ...........................18

Di Donato v. Insys Therapeutics, Inc.,
   333 F.R.D. 427 (D. Ariz. 2019) ...............................................................................................15

Ferris v. Wynn Resorts Ltd.,
   No. 2:18-cv-00479-APG-DJA, 2023 U.S. Dist. LEXIS 35374 (D. Nev. Mar. 1, 2023) .........19


                                                                    ii
            Case 1:22-cv-02541-TNM Document 119 Filed 06/21/24 Page 4 of 32




*FindWhat Inv’r Grp. v. FindWhat.com,
   658 F.3d 1282 (11th Cir. 2011) ...............................................................................................20

*Halliburton Co. v. Erica P. John Fund, Inc.,
   573 U.S. 258 (2014) (“Halliburton II”) .............................................................................9, 10

*Hatamian v. Advanced Micro Devices, Inc.,
   No. 14-cv-00226 YGR, 2016 U.S. Dist. LEXIS 34150 (N.D. Cal. Mar. 16, 2016) ................19

*In re Banc of Cal. Sec. Litig.,
    326 F.R.D. 640 (C.D. Cal. 2018) .......................................................................................19, 20

In re Bed Bath & Beyond Corp. Sec. Litig.,
    687 F. Supp. 3d 1 (D.D.C. 2023) ...........................................................................................8, 9

In re CenturyLink Sales Practices & Sec. Litig.,
    337 F.R.D. 193 (D. Minn. 2020) .............................................................................................17

*In re DVI Inc. Sec. Litig.,
    249 F.R.D. 196 (E.D. Pa. 2008) ...............................................................................................12

*In re Groupon Inc. Sec. Litig.,
    No. 12 C 2450, 2015 U.S. Dist. LEXIS 27334 (N.D. Ill. Mar. 5, 2015) ...........................12, 13

*In re Initial Pub. Offering Sec. Litig.,
    260 F.R.D. 81 (S.D.N.Y. 2009) ...............................................................................................12

In re January 2021 Short Squeeze Trading Litig is completely misplaced.
    No. 21-2989-MDL-ALTONAGA/Torres, 2023 U.S. Dist. LEXIS 231860 (S.D. Fla. Nov. 13,
    2023) ........................................................................................................................................16

*In re Monster Worldwide, Inc.,
    251 F.R.D. 132 (S.D.N.Y. 2008) .............................................................................................23

*In re New Century,
    No. CV 07-0931 DDP (FMOx), 2009 U.S. Dist. LEXIS 144557
    (C.D. Cal. Dec. 7, 2009) ..........................................................................................................23
In re Petrobras Sec. Litig.,
    312 F.R.D. 354 (S.D.N.Y. 2016) .............................................................................................21

*In re PolyMedica Corp. Sec. Litig.,
    432 F.3d 1 (1st Cir. 2005) ..........................................................................................................9

In re Qualcomm Inc. Sec. Litig.,
    No. 17cv121-JO-MSB, 2023 U.S. Dist. LEXIS 47016 (S.D. Cal. Mar. 20, 2023) .................19

In re Snap Inc. Sec. Litig.,
    334 F.R.D. 209 (C.D. Cal. 2019) .............................................................................................19


                                                                        iii
           Case 1:22-cv-02541-TNM Document 119 Filed 06/21/24 Page 5 of 32




In re Teva Sec. Litig.,
    No. 3:17-cv-558 (SRU), 2021 U.S. Dist. LEXIS 43316 (D. Conn. Mar. 9, 2021)..................15

In re Vale S.A. Sec. Litig.,
    No. 1:15-cv-9539-GHW, 2019 U.S. Dist. LEXIS 234514 (S.D.N.Y. Sep. 27, 2019).......10, 19

*In re Xcelera.com Sec. Litig.,
    No. 00-11649-RWZ, 2004 U.S. Dist. LEXIS 29064 (D. Mass. Sep. 30, 2004) ......................11

Karinski v. Stamps.com, Inc.,
   No. CV 19-1828-MWF (SKx), 2020 U.S. Dist. LEXIS 209256 (C.D. Cal. Nov. 9, 2020) ....19

KB Partners I, L.P. v. Barbier,
   No. A-11-CA-1034-SS, 2013 U.S. Dist. LEXIS 78108 (W.D. Tex. June 3, 2013) ..................9

*Krogman v. Sterritt,
   202 F.R.D. 467 (N.D. Tex. 2001) ..............................................................................................1

Loritz v. Exide Techs.,
   No. 2: 13-cv-02607-SVW-E, 2015 U.S. Dist. LEXIS 100471 (C.D. Cal. July 21, 2015).........9

*Malriat v. QuantumScape Corp.,
  No. 3:21-cv-00058-WHO, 2022 U.S. Dist. LEXIS 232497 (N.D. Cal. Dec. 19, 2022) ....10, 13

*Matrixx Initiatives, Inc. v. Siracusano,
  563 U.S. 27 (2011) .....................................................................................................................7

McGuire v. Dendreon Corp.,
  267 F.R.D. 690 (W.D. Wash. 2010) ........................................................................................21

*McIntire v. China MediaExpress Holdings, Inc.,
  38 F. Supp. 3d 415 (S.D.N.Y. 2014) ...........................................................................11, 12, 13

*Meijer, Inc. v. Warner Chilcott Holdings Co. III,
  246 F.R.D. 293 (D.D.C. 2007).................................................................................................23

*Monroe Cty. Employees’ Ret. Sys. v. S. Co.,
  332 F.R.D. 370 (N.D. Ga. 2019)........................................................................................15, 18

*Nat’l Veterans Legal Servs. Program v. U.S.,
   235 F. Supp. 3d 32 (D.D.C. 2017) ...........................................................................................23

N.J. Carpenters Health Fund v. Royal Bank of Scot. Grp., PLC,
    No. 08-CV-5310 (DAB), 2016 U.S. Dist. LEXIS 153804 (S.D.N.Y. Nov. 4, 2016) ..............20

Petrie v. Elec. Game Card, Inc.,
   308 F.R.D. 336 (C.D. Cal. 2015) .........................................................................................9, 12

Rooney v. EZCORP, Inc.,


                                                                    iv
            Case 1:22-cv-02541-TNM Document 119 Filed 06/21/24 Page 6 of 32




     330 F.R.D. 439 (W.D. Tex. 2019) ...........................................................................................14

*Sayce v. Forescout Techs., Inc.,
   No. 20-cv-00076-SI, 2024 U.S. Dist. LEXIS 94700 (N.D. Cal. May 28, 2024) .....................19

*Smilovits v. First Solar, Inc.,
   295 F.R.D. 423 (D. Ariz. 2013) ...............................................................................................12

St. Clair Cty. Emps.’ Ret. Sys. v. Acadia Healthcare Co.,
    No. 3:18-cv-00988, 2022 U.S. Dist. LEXIS 178750 (M.D. Tenn. Sep. 30, 2022)............15, 18

*Strougo v. Barclays PLC,
    312 F.R.D. 307 (S.D.N.Y. 2016) .............................................................................................16

*Waggoner v. Barclays PLC,
  875 F.3d 79 (2d Cir. 2017).......................................................................................................10

W. Palm Beach Police Pension Fund v. DFC Glob. Corp.,
   No. 13-6731, 2016 U.S. Dist. LEXIS 102304 (E.D. Pa. Aug. 4, 2016) ..................................21


Rules & Regulations

Fed. R. Civ. P. 23 .............................................................................................................................1




                                                                       v
          Case 1:22-cv-02541-TNM Document 119 Filed 06/21/24 Page 7 of 32




       Plaintiff respectfully submits this reply in further support of its motion for Class
Certification pursuant to Rule 23 of the Federal Rules of Civil Procedure.

     I.        PRELIMINARY STATEMENT

       Plaintiff and the Class are entitled to a presumption of reliance because Defendant Ryan
Cohen (“Cohen”) committed a fraud on the market.        See Basic Inc. v. Levinson, 485 U.S. 224
(1988).1 Cohen and his expert, Professor (“Prof.”) Daniel Fischel (“Fischel”), cannot contest that
the market for Bed Bath & Beyond’s (“BBBY”) securities was “informationally efficient” as that
term is defined by the federal courts. Nor do they even dispute that almost all the Cammer and
Krogman factors existed during the Class Period. See Cammer v. Bloom, 711 F. Supp. 1264
(D.N.J. 1989); Krogman v. Sterritt, 202 F.R.D. 467 (N.D. Tex. 2001); Ex. 2 (Fischel Dep.) at
85:19-92:22. These concessions are alone sufficient to find that BBBY securities traded in an
efficient market during the Class Period.
       Cohen asks the Court to take the unprecedented step of throwing out most of the Cammer
and Krogman factors because of the unique circumstances of a “furious short squeeze,” Cohen’s
Opposition (“Opp.”) at 1, that he caused or at least exacerbated himself. But each of Cohen’s
arguments has previously been rejected. Volatility, short-selling constraints and criticisms of a
Plaintiff’s expert’s event study are insufficient to overcome Basic’s presumption of reliance.

Regardless, even if Cohen’s arguments were considered, Prof. Fischel relies on inaccurate and
incomplete data to conclude shorting BBBY securities was impossible during the Class Period.
There were no significant short-selling constraints. Prof. Fischel’s alternate event study is also
deeply flawed because the period he tests was contaminated by Cohen’s fraudulent statements.
Plaintiff’s expert, Dr. Matthew Cain (“Cain”), demonstrates that there is a causal link between
Cohen’s misrepresentations and the price movements in BBBY’s securities during the Class


1
 Unless otherwise noted, all internal citations and quotation marks are omitted and all emphasis is
supplied. Citations to “¶__” or “¶¶__” are references to the numbered paragraphs of the
Consolidated Second Amended Complaint (the “Complaint”) filed at Dkt. No. 66.


                                                1
           Case 1:22-cv-02541-TNM Document 119 Filed 06/21/24 Page 8 of 32




Period. Ex. 1 (Cain Reply) at ¶¶44-50.
       Cohen must show that his misrepresentations had no price impact whatsoever to rebut

Basic’s presumption of reliance. Cohen does not even attempt to do that because Prof. Fischel’s
Report does not address all but one of Cohen’s statements, and Prof. Fischel conceded that the
price of BBBY securities continued to rise for over 24 hours after Cohen told investors that he was
bullish on the stock on August 12, 2022. Ex. 2 (Fischel Dep.) at 168:15-170:5. Dozens of court
decisions over the years have also rejected Cohen’s claim that damages cannot be calculated on a
Class-wide basis in securities fraud cases.
       Cohen’s 49-page brief is remarkably thin on legal citations because the law is
overwhelmingly in Plaintiff’s favor. For this reason, Cohen attempts to pound the facts, but the
facts are not on his side either. Veering inappropriately into the merits, Cohen presents his
alternative version of events to influence the Court’s decision on matters not before it, but the facts
developed to date have only strengthened Plaintiff’s claims, and Cohen faces an inevitable loss at
the next stage of litigation. To the extent Cohen discusses facts relevant to class certification, he
relies on slander and misleading omissions of the record to claim Plaintiff is atypical and
inadequate to represent the Class. But an objective assessment of the facts shows that Plaintiff is
an ideal Class Representative because it considered Cohen’s turnaround strategy and
misrepresentations exactly like other investors, and like other investors traded on a price that
reflected the benefit of Cohen’s involvement when he had secretly threatened to sell his shares.
       For all of these reasons and the reasons explained below, Plaintiff respectfully requests that
the Court grant Plaintiff’s motion for Class Certification.
     II.        FACTS RELEVANT TO CLASS CERTIFICATION

       Undisputed facts are enough for the Court to certify the Class. Prof. Fischel admitted at
his deposition that 6 out of 8 Cammer and Krogman factors existed during the Class Period. Ex.
2 (Fischel Dep.) at 91:15-96:19. His Report contains a conclusory footnote stating that none of
these factors allow Dr. Cain to test efficiency during the Class Period, but he admitted most of



                                                  2
        Case 1:22-cv-02541-TNM Document 119 Filed 06/21/24 Page 9 of 32




these factors existed during the Class Period, and even conceded that he never analyzed them. Id.
He further admitted that all Cammer factors are not required to find efficiency, and that volatility

by itself is not sufficient to find inefficiency. Id. at 105:22-106:9.
        Prof. Fischel’s speculative opinions about what he repeatedly refers to as a “rumored short
squeeze” fare no better. His Report carefully and repeatedly hedges that the short squeeze was
“rumored,” because he did not analyze the existence or cause of any short squeeze. Ex. 3 (Fischel
Report) at ¶¶20-22, 26-28, 32, 35, 40, 50, 52, 56-58. Recognizing this weakness, at his deposition,
he stressed that the Report contains the phrase “actual short squeeze,” but that is false. Ex. 2
(Fischel Dep.) 200:25-201:16.       It does not. While Prof. Fischel relies on “rumors,” facts
discovered in this case show that, on July 26, 2022, David Freedman (“Freedman”), an expert on
activist investors BBBY hired to deal with Cohen, told management that Cohen could “rally the
Reddit crowd” and “try to ignite a short squeeze” to increase BBBY’s stock price. Ex. 4 (Kim
Dep.) at 195:2-196:6; Ex. 5. BBBY’s CEO, Sue Gove (“Gove”), agreed that Cohen was capable
of doing that. Ex. 6 (Gove Dep.) at 232:4-13. Prof. Fischel also relies on incomplete and unreliable
data from a single vendor to claim that there were significant short-selling constraints. Likely
more complete data provided by another vendor shows that is factually inaccurate. Ex. 1 (Cain
Reply) at ¶ 24. Contrary to Prof. Fischel’s claim, hundreds of thousands of shares were available
to short and were shorted during the Class Period. Ex. 1 (Cain Reply) at ¶24.
        This leaves Prof. Fischel’s speculative opinion based on seven anonymous social media
posts that “some, if not many, potential Class Members” did not rely on the integrity of the market
because they were crooked manipulators all in it for the squeeze. Ex. 2 (Fischel Dep.) at 188:18-
201:16. At deposition, however, Prof. Fischel admitted that he did not even know whether any of
the individuals he referenced purchased BBBY securities or held BBBY securities during the Class
Period. Ex. 2 (Fischel Dep.) at 188:18-190:10. He also disregarded the sub-Reddit /BBBY
specifically dedicated to the Company, as well as tens of thousands of comments, likes, posts and
reposts showing retail investors bought BBBY securities because Cohen told them to do so. E.g.,
¶¶149-55. Indeed, Cohen’s own Board appointees pushed the Company to “pay special attention”


                                                   3
       Case 1:22-cv-02541-TNM Document 119 Filed 06/21/24 Page 10 of 32




to retail investors in early 2022. See Ex. 6 (Gove Dep.) at 100:18-101:20. Shelly Lombard
(“Lombard”) said that retail investors were more important than analysts. Ex. 7. Marjorie Bowen

(“Bowen”) believed that investors on Reddit were “sophisticated,” and she was “addicted” to their
posts. See Ex. 6 (Gove Dep.) at 257:11-259:4; Exs. 8, 9, 10. On another occasion, Bowen told
Lombard and Ben Rosenzweig (“Rosenzweig”) that retail investors were “not as dumb as the
media makes them out to be” and were “actually experts[.]” See Ex. 8.
       Prof. Fischel’s price impact analysis is also deeply flawed. He admitted that the price of
BBBY’s securities went up after Cohen tweeted on August 12, 2022 and continued to rise on
August 15, 2022. Ex. 2 (Fischel Dep.) at 168:15-169:21. That concession of price impact is fatal,
because Defendants must show no price impact whatsoever. His speculative opinion that the stock
price rose exclusively because of a “rumored short squeeze” in August 2022 also flies in the face
of reality. He ignores all the investors online who started to buy stock on August 5, 2022 because
of Cohen. ¶¶153-56. As Bowen observed: “It must be nice to be a billionaire and have a legion
of followers on social media pumping a stock price for you” See Ex. 8. BBBY executives also
noted the direct correlation between Cohen’s SEC filings and the increase in BBBY’s stock price.
Ex. 4 (Kim Dep.) at 224:2-24, 228:10-229:14; Ex. 6 (Gove Dep. 272:2-10); Exs. 11, 12.
Rosenzweig testified that the moon emoji in Cohen’s tweet was “a good thing for [BBBY’s] stock”
and that Cohen did not intend to sell his BBBY holdings. See Ex. 13 (Rosenzweig Dep.) 220:14-
18, 221:23-222:4.2
       Prof. Fischel completely ignores the impact of Cohen’s filings with the SEC on August 16,
2022 and August 18, 2022. When Cohen filed a Schedule 13D on August 16, 2022, the stock price
increased over 70%, reaching an intraday high of $28.60 per share. ¶¶162-64.         After seeing


2
  Rosenzweig’s attempt to backtrack on his comments later in his deposition at Defendants’
Counsel’s prodding is nothing new, as he attempted to do the same when he revealed his intent to
be Cohen’s proxy in his interview with BBBY for a spot as a Board member before backtracking
at the behest of Cohen’s attorneys. See infra at 7. Regardless, Rosenzweig’s alternate testimony
is also helpful to Plaintiff because he agreed other individuals were misled by Cohen’s tweet. Ex.
13 (Rosenzweig Dep.) at 239:15-240:3.


                                                4
       Case 1:22-cv-02541-TNM Document 119 Filed 06/21/24 Page 11 of 32




Cohen’s 13D, Bowen texted Lombard and Rosenzweig to say “it was great to see [Cohen] buying”
more BBBY securities. See Ex. 8; see also Ex. 9 (“Holy crap just looked at our stock price. Ryan

buying more obviously egg them all on.”). Cohen’s own attorney believed that Cohen was
increasing his BBBY holdings, rather than liquidating them. Ex. 14 (Nebel Dep.) 127:15-128:2;
129:7-130. Cohen’s claim that investors knew about his actual sales when his Form 144 was
released on August 17, 2022 also lacks credibility. Opp. at 16-17. Cohen’s own appointees
interpreted the Form 144 as a signal that Cohen would exercise his call options within the
subsequent three months. See Ex. 10. Gove also testified that even after viewing the Form 144,
she did not have any reason to believe Cohen sold his holdings. Ex. 6 (Gove Dep.) 281:1-282:18.
       Prof. Fischel also fails to dispute the enormous back-end impact of Cohen’s false
statements. On August 18, 2022, when news of Cohen’s dump began to emerge, BBBY’s stock
price plunged over the next three days, falling from its previous day closing price of $18.55 to
close at $8.78 on August 23, 2022. ¶178. Prof. Fischel extensively relied on news articles,
including several Bloomberg Opinion pieces, to make claims about a “rumored short squeeze,” but
his Report disregards Bloomberg news stories directly attributing the massive decline in BBBY’s
stock price to Cohen’s dump. Ex. 15; Ex. 2 (Fischel Dep.) at 154:13-159:22. Gove agreed that
there was no news except for Cohen’s SEC filings to explain either the massive rise in price on
August 16, 2022 or the massive fall in price on August 19, 2022. Ex. 6 (Gove Dep.) at 281:1-
282:18.
  III.    EXAMPLES OF COMMON EVIDENCE THAT WILL BE USED AT
TRIAL TO SUPPORT CLASS CLAIMS

Pre-existing Plan to Sell: Very strong circumstantial evidence exists to show that Cohen soured
on his investment in BBBY more than a month before the Class Period began, and was highly
motivated to exit his position. On April 27, 2022, Cohen expressed alarm at the Company’s
financial results, and asked the Board to “be laser-focused on cost containment” to “stem[] the
bleeding.” Ex. 16. By June 1, 2022, Cohen had repeatedly communicated with BBBY executives,
asking them to reveal material information concerning plans to “conserve cash,” share information


                                               5
       Case 1:22-cv-02541-TNM Document 119 Filed 06/21/24 Page 12 of 32




about the balance sheet and inventory, and suggesting that the Company dramatically cuts costs
because “drawing down” on the Asset Based Lending (“ABL”) Facility would be catastrophic.

See, e.g., Ex. 17 (written record of Cohen’s communications with management and a Board
member with no request for a non-disclosure agreement).
       By June 21, 2022, the Company decided not to sell or spin off buybuy BABY. Ex. 18. On
June 28, 2022, Cohen told Harriet Edelman (“Edelman”), the Chair of the Board, that he was
“taken aback” by BBBY’s poor results, asked how much time the Company had left, and whether
it was considering selling shares or upsizing the ABL. Ex. 19; Ex. 20. On that same day, Cohen
secretly demanded to Edelman that he be placed on a reconstituted 7-member Board, along with 4
of his other proxies, Edelman and Gove, giving Cohen control. Ex. 19. He also secretly threatened
to sell his shares if he did not get control. Id. Edelman immediately rejected the request. Id. He
had little recourse because the Cooperation Agreement did not provide him the control he
demanded. Id. On July 15, 2022, Cohen expressed surprise to Gove about “how quickly it
collapsed,” asked “how bad” the Company’s liquidity position was, Ex. 6 (Gove Dep.) at 159:15-
164:9; 171:2-172:15; Ex. 21, stated that he was against any actions that would dilute his interest,
and demanded to be told in advance should the Company consider any dilutive strategies. Ex. 6
(Gove Dep.) at 164:10-169:12; Edelman Dep at 248:17-251:19. At this point, the Company was
already considering dilutive actions. Ex. 6 (Gove Dep.) at 164:10-169:12. Fearing that Cohen
may become adversarial, on July 21, 2022, Edelman and Gove offered to meet with him in Florida.
Ex. 22. He declined the offer. Id. After that, Cohen went completely “dark,” his appointees
stopped pestering the Board to give him inside information, and he never again communicated
with any independent director or BBBY’s management before the Class Period commenced. Ex.
23 (Edelman Dep.) at 254:19-256:15; Ex. 6 (Gove Dep.) at 158:11-159:8; 204:3-18.
       Material Non-Public Information (“MNPI”): Cohen did not disclose to BBBY investors
that he had serious concerns about the Company’s future, made a play for the Board, threatened to
sell his shares if he lost, and stopped communicating with BBBY’s Board and management after
his attempted coup failed. None of this was public. And it would certainly be material to the


                                                6
       Case 1:22-cv-02541-TNM Document 119 Filed 06/21/24 Page 13 of 32




thousands of investors who bought shares because they believed in Cohen, his publicized
turnaround strategy, and his false Twitter posts suggesting continued support of the Company. See

Matrixx Initiatives, Inc. v. Siracusano, 563 U.S. 27, 38-40 (2011) (holding that information
significant to the trading decision of investors is material); Ex. 6 (Gove Dep.) at 89:10-14 (agreeing
these facts are material). And, there is common evidence that Board members gave him additional
MNPI. According to Gove, Cohen’s appointees to the Board were obsessively focused on Cohen’s
interests. Ex. 6 (Gove Dep.) at 74:14-75:16. During the vetting process, Rosenzweig stated that
he was Cohen’s proxy. Ex. 24. He continued to make similarly troubling statements to BBBY’s
CEO, CFO and general counsel. Ex. 6 (Gove Dep.) at 80:1-17. Cohen’s appointees came with a
“mandate” to push his plan to sell or spin-off buybuy BABY. Ex. 6 (Gove Dep.) at 55:7-13; 56:21-
23; 59:5-18; Ex. 25 (Bowen Dep.) at 202:1-205:3. And when Cohen shifted his focus to BBBY’s
liquidity crisis, his appointees also changed their tune and did the same. Ex. 25 (Bowen Dep.) at
142:5-17.
       Cohen’s appointees repeatedly approached BBBY’s management with proposals to share
MNPI with Cohen. Ex. 13 (Rosenzweig Dep.) at 82:4-20, 83:10-22; Ex. 26; Ex. 6 (Gove Dep.) at
93:4-11, at 94:20-25, 99:16-100:8; Ex. 25 (Bowen Dep.) at 156:3-21, 174:16-175:9; Ex. 27
(Lombard Dep.) at 102:21-103:18; Ex. 13 (Rosenzweig Dep.) at 110:3-5, 111:4-23. This bizarre
behavior led Gove and most of the independent members of the Board to believe that they were
sharing MNPI with Cohen. Ex. 6 (Gove Dep.) at 288:11-293:18. Ignoring that what constitutes
MNPI is a legal issue, Cohen relies mostly on the bare denials of his compromised appointees to
claim no MNPI was shared with him. Opp. at 9. He is wrong. In violation of BBBY’s policy,
Rosenzweig privately phoned Cohen while he was on the Board, Ex. 28, admitted he talked to
Cohen about “interpersonal workings of the board,” and that he shared with Cohen his “opinions
of the other board members” and whether “they were receptive to new ideas.” Ex. 13 (Rosenzweig
Dep.) at 51:11-52:4, 72:9-24. Informed of some of Rosenzweig’s testimony, Gove agreed that
Rosenzweig indeed did share MNPI with Cohen. Ex. 6 (Gove Dep.) at 81:19-84:7. Lombard also
violated Company policy, met with Cohen on Zoom on May 21, 2022, and testified that she


                                                  7
       Case 1:22-cv-02541-TNM Document 119 Filed 06/21/24 Page 14 of 32




discussed “turning the company around” with Cohen. Ex. 27 (Lombard Dep.) at 80:22-81:8. That
too is MNPI. As for Bowen, she admittedly destroyed text messages and emails, hampering

Plaintiff’s efforts to learn the facts. Nevertheless, evidence concerning her behavior is consistent.
Ex. 25 (Bowen Dep.) at 32:21-33:9, 121:6-12, 122:2-7. On March 21, 2022, Bowen sent an e-
mail to a third party, Jonathan Heller, asking for a professional reference and followed up by stating
that “[w]hat is not public is that RC Ventures is working collaboratively with the company to
refresh the board and conduct a strategic alternatives review.” Ex. 29; Ex. 25 (Bowen Dep.) at
102:13-19. That was MNPI as well.
       False Statements in SEC Filings: Evidence that Cohen made false statements in SEC
filings is straightforward. He does not dispute that he ordered his broker to sell shares before any
of the Forms were filed on August 16, 2022. ¶¶159-78. Shortly after noon on August 16, 2022,
the day Cohen filed a Schedule 13D omitting his plan to sell, he sent a CNBC article to his attorney,
which reported that BBBY’s stock price rose because of him. Ex. 30. Despite knowing this fact,
he did nothing to correct the misleading picture he had created in the marketplace for days. Cohen
now claims that he filed false SEC filings with the assistance of counsel, Opp. at 14-16, but Cohen
never received any advice on whether stating the sales were “potential” when he had already sold
was legal. In fact, his attorney repeatedly testified that he believed Cohen was “buying,” not
“selling,” BBBY securities on August 16, 2022. Ex. 14 (Nebel Dep.) 128:3-129:21.
    IV.        ARGUMENT

          A.    Cohen Fails to Refute that Plaintiff and the Class are Entitled to a Presumption of
                Reliance Under the Fraud on the Market Doctrine

               1.      BBBY’s Securities Traded In an “Informationally Efficient” Market

       Cohen and his expert provide no reason to disregard the legal definition of “informational
efficiency”: that markets are efficient when stock prices reflect available information about the

security even if the prices do not accurately or correctly reflect the fundamental value of the
security. Ex. 1 (Cain Reply) at ¶¶15-19. See also In re Bed Bath & Beyond Corp. Sec. Litig., 687



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       Case 1:22-cv-02541-TNM Document 119 Filed 06/21/24 Page 15 of 32




F. Supp. 3d 1, 16 (D.D.C. 2023) (citing Halliburton Co. v. Erica P. John Fund, Inc., 573 U.S. 258,
273–74 (2014) (“Halliburton II”)). Prof. Fischel’s Report does not mention this critical distinction

even though, at least, one Circuit has repeatedly cited his seminal work to reject that a plaintiff
must show “fundamental value efficiency” at the class certification stage. See In re PolyMedica
Corp. Sec. Litig., 432 F.3d 1, 14–17 (1st Cir. 2005).
       In a conclusory paragraph lacking any analytical support, Prof. Fischel claims that damages
cannot be calculated for a stock that is informationally, but not fundamentally, efficient. Fischel
Rep. at ¶59. The federal courts have repeatedly rejected similar arguments for over a decade. See
infra at 19-20. Moreover, Prof. Fischel fails to explain why a reasonable jury could not accept a
damage calculation assessing common evidence of artificial inflation following Cohen’s tweets
and the large increase in price after Cohen filed a misleading Schedule 13D on August 16, 2022
or the crash in price after news of his dump emerged on August 18, 2022. It can, just as juries
often do.
       Cohen’s 49-page tome mentions the legal definition of “informational efficiency” only
once in passing. Opp. at 28. Cohen rehashes the same claim that only strict fundamental value
efficiency will suffice, despite this Court’s ruling at the pleading stage. Compare Opp. at 26
(repeating claim that stock price did not reflect information about a sales slump, discounted
merchandise, and poor liquidity position) with In re Bed Bath & Beyond Corp. Sec. Litig., 687 F.
Supp. 3d at 16 (rejecting claim that an efficient market must reflect “bleak reporting on Bed Bath’s
outlook”). Cohen’s position is overwhelmingly rejected by courts. See, e.g., City of Cape Coral
Mun. Firefighters’ Ret. Plan v. Emergent Biosolutions, Inc., 322 F. Supp. 3d 676, 688 (D. Md.
2018) (rejecting similar arguments and ruling that “informational efficiency” “is the efficiency
standard of greatest concern to courts.”); Petrie v. Elec. Game Card, Inc., 308 F.R.D. 336, 354-55
(C.D. Cal. 2015) (same); Loritz v. Exide Techs., No. 2: 13-cv-02607-SVW-E, 2015 U.S. Dist.
LEXIS 100471, at *41-43 (C.D. Cal. July 21, 2015) (same); KB Partners I, L.P. v. Barbier, No.
A-11-CA-1034-SS, 2013 U.S. Dist. LEXIS 78108, at *27 (W.D. Tex. June 3, 2013) (same). See
also Halliburton II, 573 U.S. at 272 (“the modest premise underlying the presumption of reliance”


                                                 9
       Case 1:22-cv-02541-TNM Document 119 Filed 06/21/24 Page 16 of 32




is simply “that public information generally affects stock prices.”).
       Plaintiff is not aware of any federal decision that has gone the other way. The Court should

find that the Basic presumption applies because Cohen and his expert cannot dispute that the legal
definition of market efficiency has been met. Moreover, Cohen cannot challenge that most of his
Class Period statements impacted the price of BBBY stock, and fails to carry his burden to rebut
the Basic presumption, rendering his opposition an exercise in futility. See infra at 16-19.
               2.      Cohen Concedes Most Cammer and Krogman Factors Are Met

       Cohen and his expert do not contest that, during the Class Period, Ex. 1 (Cain Rep.) at
¶¶32-34, BBBY’s securities traded on the NASDAQ with weekly trading volume that requires a
strong presumption of reliance (Cammer I), were covered by analysts (Cammer II), and held by
58 market makers and 264 institutional investors (Cammer III). Nor can they dispute that BBBY
was eligible to file Form S-3 (Cammer IV) or that all three Krogman factors further support
efficiency. Prof. Fischel did not test these factors, but he baselessly claims in a footnote that most
of the factors “do not allow [Dr. Cain] to analyze discrete periods within the Cain Analysis Period
and thus are incapable of supporting his conclusion.” Fischel Rep. at 32 n.105. This argument
makes no sense. BBBY continued to trade with high volume on the same trading venue with the
same market makers and the same eligibility to file Form S-3 during the Class Period. Ex. 1 (Cain
Reply) at ¶¶ 32-34.

       Plaintiff is entitled to a presumption of reliance because most Cammer and Krogman
factors are uncontested, and no single factor is dispositive. See, e.g., Waggoner v. Barclays PLC,
875 F.3d 79, 98-99 (2d Cir. 2017) (affirming decision to certify class when most of the Cammer
and Krogman factors were met, and holding that plaintiffs are not required to show direct evidence
of price impact through event studies under Cammer V); Malriat v. QuantumScape Corp., No.
3:21-cv-00058-WHO, 2022 U.S. Dist. LEXIS 232497, at *36-37 (N.D. Cal. Dec. 19, 2022) (ruling
that plaintiffs were entitled to a presumption of reliance even if the “cause and effect test” or
Cammer V was unmet); In re Vale S.A. Sec. Litig., No. 1:15-cv-9539-GHW, 2019 U.S. Dist.



                                                 10
       Case 1:22-cv-02541-TNM Document 119 Filed 06/21/24 Page 17 of 32




LEXIS 234514, at *41-43 (S.D.N.Y. Sep. 27, 2019) (same).

               3.      Cohen Fails to Show any Deficiencies in Cammer III and V

       Cohen derisively refers to Cammer and Krogman as “out of circuit, district court cases,”
Opp. at 23, but both decisions have been overwhelmingly followed throughout the country for
decades. He asks the Court to throw out virtually all their factors, but cites nothing to support his
request to rewrite the law. His argument is also internally inconsistent because he overemphasizes
two Cammer factors he incorrectly believes favor him. They do not.
       Cammer III: Market Makers. Courts analyze the short interest, if at all, as a subset of
Cammer III. See McIntire v. China MediaExpress Holdings, Inc., 38 F. Supp. 3d 415, 432
(S.D.N.Y. 2014). Cohen and his expert claim the unique circumstances presented by a “rumored
short squeeze,” Fischel Rep. at 14, produced high volatility in BBBY’s stock price during the Class
Period, and the squeeze was caused by irrational manipulators on Reddit who did not rely on the
integrity of the market. Opp. at 32. Ignoring that thousands of his followers on Reddit and Twitter
bought stock because of his false statements and manipulative acts, Cohen instead defames retail
investors as irrational manipulators who “knew the game was crooked because they were trying to
crook it.” Id. But the only thing novel about this case is the meme stock movement that Cohen
attempted to lead and exploit. Each of Cohen’s arguments has been rejected by the federal courts

consistently and repeatedly, and almost unanimously.
       Courts have rejected claims that a market should be deemed inefficient because of the
existence of “irrational investors” when, like here, Plaintiff has shown that most of the Cammer
and Krogman factors are met. Compare Opp. at 31-33 with In re Xcelera.com Sec. Litig., No. 00-
11649-RWZ, 2004 U.S. Dist. LEXIS 29064, at *9 (D. Mass. Sep. 30, 2004).3 They have also

3
  Cohen’s unsubstantiated assertion that “most investors” did not rely on the integrity of the market
is frivolous. Opp. at 31-33. Six comments about a squeeze on Reddit stripped from context are
evidence of nothing when Plaintiff as well as thousands of Cohen’s followers on Twitter and
Reddit bought shares and lost money because of his false statements and scheme to defraud.
¶¶138-78. Prof. Fischel’s speculative opinions on this topic are completely inappropriate and



                                                 11
        Case 1:22-cv-02541-TNM Document 119 Filed 06/21/24 Page 18 of 32




rejected claims that volatility renders a market inefficient. Carpenters Pension Tr. Fund of St.
Louis v. Barclays PLC, 310 F.R.D. 69, 91 (S.D.N.Y. 2015) (rejecting claim that increased volatility

created inefficiencies during the relevant time period); Cheney v. Cyberguard Corp., 213 F.R.D.
484, 500-01 (S.D. Fla. 2003) (rejecting that volatility weighed against efficiency where, as here,
the price was impacted when the defendant made false statements and when a corrective disclosure
emerged).
        And, courts have rejected claims that short-selling constraints trump the established
Cammer factors. See, e.g., In re Groupon Inc. Sec. Litig., No. 12 C 2450, 2015 U.S. Dist. LEXIS
27334, at *28-30 (N.D. Ill. Mar. 5, 2015) (ruling that the high cost of taking short positions does
not demonstrate inefficiency when the stock, like here, is affected by defendant’s false statements);
McIntire, 38 F. Supp. 3d at 432 (finding that short-selling constraints in and of themselves are not
sufficient to show inefficiency in the absence of systematic regulatory bans). In fact, courts have
certified classes even after finding that short-selling constraints existed, so long as the other factors
favor the Class. See, e.g., Smilovits v. First Solar, Inc., 295 F.R.D. 423, 433-34 (D. Ariz. 2013).
Prof. Fischel is well-aware of this fact. He has served as an expert witness for plaintiffs, applied
the Cammer factors to conclude the market was efficient, and had a court certify a class despite
finding that obstacles to arbitrage weighed in favor of inefficiency. See In re Initial Pub. Offering
Sec. Litig., 260 F.R.D. 81, 100-01 (S.D.N.Y. 2009).
        Short-selling constraints are also not particularly relevant when, like here, the market
expected a security’s price to rise. See, e.g., In re DVI Inc. Sec. Litig., 249 F.R.D. 196, 212-13
(E.D. Pa. 2008); Petrie, 308 F.R.D. at 357-58. Cohen created those expectations with his
misleading Twitter post and his false SEC filings. ¶¶146-78. Still, even if the Court indulged
Cohen’s irrelevant arguments, he is wrong about the facts too. Prof. Fischel’s claim that the short



inadmissible. Fischel Rep. at 28-30. Plaintiff did not move to strike only to avoid burdening the
Court with motion practice. Prof. Fischel has no expertise in social media, and his conjecture that
“some, if not many potential class members” lacked reliance is groundless. Id. He does not know
the specific identity of any Class Member except Plaintiff. Ex. 2 (Fischel Dep.) at 188:4-17.


                                                   12
          Case 1:22-cv-02541-TNM Document 119 Filed 06/21/24 Page 19 of 32




interest utilization was “at or near 100%” is incorrect. Ex. 3 (Fischel Rep.) at 17. Prof. Fischel
relied on unreliable and incomplete data because it excludes information from banks and

exchanges. Ex. 1 (Cain Reply) at ¶¶21-22. More robust data shows that the short interest increased
and hundreds of thousands of shares were available to short during the Class Period. Id. at 24-25.4
This is consistent with what Bed Bath’s retained expert on activist investor engagement told
management and the Board. Ex. 31. Gove also testified that there was no prohibition on shorting
BBBY securities, and it merely became more expensive to engage in such transactions. Ex. 6
(Gove Dep.) at 275:20-278:25. That is not enough to rebut Basic’s presumption of reliance. See
In re Groupon Inc. Sec. Litig., 2015 U.S. Dist. LEXIS 27334, at *28-30; McIntire, 38 F. Supp. 3d
at 432.
          Cohen’s request that the Court assume as a matter of law that he was unconnected with any
short squeeze is both improper and illogical. Opp. at 23; but see Amgen Inc. v. Conn. Ret. Plans
& Trust Funds, 568 U.S. 455, 466 (2013) (holding that courts should not “engage in free-ranging
merits inquiries” at the certification stage); QuantumScape Corp., 2022 U.S. Dist. LEXIS 232497,
at *8 (noting that complaint allegations are treated as true at the class certification stage). But
Cohen fails to disclose to the Court that he made a play to control BBBY’s board, threatened to
sell his shares if he lost, expressed alarm at the prospect of being diluted, and then stopped
communicating completely with BBBY management at least six weeks before he engaged in a
scheme to defraud investors. See supra at 6-7. That MNPI would have altered the total mix of
information available to investors, and impacted their decision to buy or sell BBBY securities.
          The evidence also shows that Cohen had extensive conversations with BBBY management,
and that either he or his Board appointees repeatedly sought inside information for him even when
there was no sensible end or purpose to do so. See supra at 7-8. Gove testified that Cohen’s
caginess and lack of trustworthiness combined with the bizarre behavior of his inexperienced or


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  Notably, Cohen references positively in his brief the robust data source used by Dr. Cain, S3
Partners. Opp. at 11. It is unclear why Prof. Fischel disregarded S3 Partners and instead used a
less robust and incomplete source for short selling data.


                                                 13
       Case 1:22-cv-02541-TNM Document 119 Filed 06/21/24 Page 20 of 32




unfit nominees led her to believe that they were feeding inside information to him. Ex. 6 (Gove
Dep.) at 285:24-291:4. In fact, two of Cohen’s nominees unwittingly admitted at their depositions

that they provided Cohen with MNPI, and Gove agreed that, at least, one of them did so based on
his testimony in this case. Ex. 13 (Rosenzweig Dep.) at 51:11-52:4; Ex. 27 (Lombard Dep.) at
80:22-81:8; Ex. 6 (Gove Dep.) at 81:9-84:7. Plaintiff could go on and on, but these facts are
sufficient to show that Cohen was highly motivated to exacerbate, if not cause, a short squeeze
and pump up the price of BBBY’s securities.
       Cohen quotes a few news stories to claim that a short squeeze already occurred before he
started tweeting about BBBY, but he ignores market participants who stated that Cohen created an
option gamma squeeze. ¶29. As early as July 26, 2022, an expert hired by the company
(Freedman) also warned BBBY management that Cohen may “ignite a short squeeze.” Ex. 4 (Kim
Dep.) at 195:2-196:6; Ex. 5. Edelman testified that she was concerned that Cohen’s tweets would
impact the price of BBBY securities. Ex. 23 (Edelman Dep.) at 22:13-24:12; see also ¶29.
       In addition, Prof. Fischel concedes that BBBY’s stock price increased by nearly 40% the
next trading after Cohen road-tested his scheme on August 5, 2022, Ex. 3 (Fischel Rep.) at ¶9, but
he never bothered to look at any of Cohen’s tweets except for the misleading statements Cohen
posted on August 12, 2022. Ex. 2 (Fischel Dep.) at 154:13-159:22. Even if signs of a squeeze
emerged before Cohen started tweeting, that would not be relevant because Cohen exacerbated it.
Cohen ignores tens of thousands of likes on Twitter, and hundreds of comments on Reddit from
his followers who believed that he encouraged them to buy BBBY securities before the Class
Period, showing that his road-test was successful. ¶¶143-44. Cohen’s argument that Plaintiff did
not plead the August 5th tweet was false is a non-sequitur. Opp. at 21. He tweeted to test the
waters and see if he could move the stock; upon learning he did he proceeded to make the concrete
Class Period misrepresentations alleged.5 Plaintiff does not need to allege the tweet was false for

5
  Delving further into the merits, Cohen opines that his August 12, 2022 misrepresentations
encouraging BBBY investors to take the stock price to the moon were a “murmur,” Opp. at 13,
because other tweets also received significant attention. Putting aside the fact that the Tweet sent



                                                14
        Case 1:22-cv-02541-TNM Document 119 Filed 06/21/24 Page 21 of 32




the Court to draw that reasonable inference.
        Cammer V: Cause and Effect. Cohen’s argument that this is the only factor that speaks

to efficiency has repeatedly been rejected. See supra at 11. Cohen criticizes Dr. Cain for using
earnings announcements in his event study, but courts credit that approach as objective. See In re
Teva Sec. Litig., No. 3:17-cv-558 (SRU), 2021 U.S. Dist. LEXIS 43316, at *105 (D. Conn. Mar.
9, 2021). He further criticizes Dr. Cain for not providing proof of previous short squeezes, but
relies on Prof. Fischel’s speculative and hedged opinions concerning a “rumored short squeeze.”
Compare Opp. at 29 n.24 with Fischel Rep. at 14. At any rate, courts often do not even require
cause and effect tests for cases with short class periods like the one here. See Barclays, 310 F.R.D.
at 82-86. Dr. Cain did not choose an event during the Class Period because BBBY did not release
an earnings report during the Class Period, the objective event criteria he selected and regularly
uses.
        Prof. Fischel’s purported event study is also flawed because he fails to test for efficiency
over time, and his event window is contaminated by Cohen’s fraud, which caused the volatility in
price he complains about. Ex. 1 (Cain Reply) at ¶¶31-32. Even assuming Prof. Fischel found a
lack of statistical significance, that fact means nothing because event studies are not required, and
the mere absence of statistical significance does not prove an absence of price impact. See, e.g.,
Monroe Cty. Employees’ Ret. Sys. v. S. Co., 332 F.R.D. 370, 393 (N.D. Ga. 2019); St. Clair Cty.
Emps.’ Ret. Sys. v. Acadia Healthcare Co., No. 3:18-cv-00988, 2022 U.S. Dist. LEXIS 178750, at
*18-20 (M.D. Tenn. Sep. 30, 2022) (similar).6




during the Class Period was liked or reposted tens of thousands of times on Twitter alone, and
discussed or liked by thousands more on Reddit, some of the other Tweets Cohen points to were
also interpreted as endorsements of BBBY securities. Ex. 32.
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  See also Rooney v. EZCORP, Inc., 330 F.R.D. 439, 450 (W.D. Tex. 2019) (ruling that “the
absence of a statistically significant price adjustment does not show the stock price was unaffected
by the misrepresentation.”); Di Donato v. Insys Therapeutics, Inc., 333 F.R.D. 427, 444 (D. Ariz.
2019) (“The lack of statistically significant proof that a statement affected the stock price is not
statistically significant proof of the opposite, i.e., that it did not actually affect the stock price.”).


                                                   15
        Case 1:22-cv-02541-TNM Document 119 Filed 06/21/24 Page 22 of 32




        Regardless, Dr. Cain has also analyzed stock price movements on the days Cohen made
false statements (August 12th and August 16th) as well as when news of Cohen’s dump began to

emerge (August 19th). Ex. 1 (Cain Reply) at ¶¶39-41. All of them are statistically significant at
the 95% confidence level. Id. BBBY’s former CEO further confirmed there was no news about
the Company on August 16th or August 18th except for Cohen’s false statements in SEC filings
and news about his pump and dump scheme. Ex. 6 (Gove Dep.) at 35:22-38:15. Of note, Prof.
Fischel did not test for statistical significance on August 16th and August 19th because he knows
that no amount of tweaking the inputs could render those dates non-significant.7
        B.      Cohen Fails to Carry his Heavy Burden to Rebut the Basic Presumption

        Proving the absence of price impact is a “difficult task.” Strougo v. Barclays PLC, 312
F.R.D. 307, 324 (S.D.N.Y. 2016) (collecting cases). A defendant must prove that there was no
price impact whatsoever, and “must make this showing as to all of the alleged corrective
disclosures.” Bos. Ret. Sys. v. Alexion Pharms., Inc., No. 3:16-cv-2127 (AWT), 2023 U.S. Dist.
LEXIS 64812, at *39 (D. Conn. Apr. 13, 2023). Cohen cannot even approach the required
showing, and does not refute that the market tracked his every word. He does not contest that,
days before the Class Period, his tweet received over 21,000 likes from investors and sent the stock
up 40%. ¶¶139-43. And his own expert agrees that in the hours after Cohen sent the “to the moon”
emoji tweet to encourage his followers to buy, Bed Bath shares rose about $2. Ex. 2 (Fischel Dep.)

at 168:11-169:21. Nor does he challenge that when the truth about Cohen’s pump and dump was


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  Cohen’s reliance on In re January 2021 Short Squeeze Trading Litig is completely misplaced.
No. 21-2989-MDL-ALTONAGA/Torres, 2023 U.S. Dist. LEXIS 231860 (S.D. Fla. Nov. 13,
2023). The plaintiffs there moved for class certification incorrectly asserting that the Basic
presumption does not apply to manipulation claims, and pled themselves out by contending that
the market was inefficient during the class period. Id. at 99-100. The district court explained that
Basic equally applies to manipulation claims. Id. Having argued that the market was inefficient
during the class period, the plaintiffs asked the district court to look outside the class period to find
market efficiency. The district court refused to do so given the illogical concession made in the
litigation. Plaintiff did not similarly misstate the law, and Dr. Cain’s initial analysis ran through
the Class Period, and all of the Cammer and Krogman factors are met, most of which Cohen
cannot contest.


                                                   16
       Case 1:22-cv-02541-TNM Document 119 Filed 06/21/24 Page 23 of 32




revealed, shares dropped from $18.50 to $11.03, and dropped further to $8.78 over the next two
trading days. ¶12. Cohen’s inability to prove an alternate cause for each of these price movements

is fatal to his price impact argument: “Because price impact can be observed on the ‘front-end’
(i.e., misstatements causing or maintaining inflation) or on the ‘back-end’ (i.e., a decline in price
caused by the corrective disclosures), Defendants must affirmatively disprove both to satisfy their
burden.” In re CenturyLink Sales Practices & Sec. Litig., 337 F.R.D. 193, 209 (D. Minn. 2020);
see also Alexion Pharms., 2023 U.S. Dist. LEXIS 64812, at *39.
       Instead, Prof. Fischel addresses only a single “front end” representation: Cohen’s
misleading August 12, 2022 tweet. But a chart in his report admits that shares rose more than $2
in the three hours following the tweet, thereafter leveling off at a gain of over 18%:




Fischel Rep. at ¶40 (annotations added). Numerous investors attributed the rise directly to
Cohen’s tweet. ¶¶150-52. Remarkably, although the 18+% ramp is visible to the naked eye and
is larger than many stocks move in an entire year, Prof. Fischel says that he does not consider it
“distinguishable from zero.” Fischel Rep. at ¶39. Cohen cites no authority for this proposition,
and the federal courts have rejected these kinds of arguments repeatedly. See, e.g., Del. Cty.


                                                 17
       Case 1:22-cv-02541-TNM Document 119 Filed 06/21/24 Page 24 of 32




Emples. Ret. Sys. v. Cabot Oil & Gas Corp., No. H-21-2045, 2023 U.S. Dist. LEXIS 172506, at
*33-34 (S.D. Tex. Sep. 27, 2023) (rejecting claim that price reaction was caused by an earlier event

when defendant could not dispute that the market also reacted after defendants’ disclosure); Acadia
Healthcare Co., 2022 U.S. Dist. LEXIS 178750, at *22-24 (similar).
       That Prof. Fischel was able to manipulate inputs to argue a lack of statistical significance
cannot show the absence of price impact. Lack of statistical significance “does not prove that
information had no role in the observed stock price adjustment. Rather, [n]on-significance
means indeterminate with respect to finding the cause of a stock price movement….” Monroe
Cnty. Employees’ Ret. Sys., 332 F.R.D. at 393; see also supra at 16 n.7.
       Cohen’s naked assertions about his false Schedule 13D and Form 144 filings fare no better.
Cohen’s attempt to portray the Schedule 13D as “largely unnoticed” defies the record. Opp. at 35.
BBBY’s stock price went up several times the following day, and its management concluded the
movement “was likely driven by RCV’s filings.” Ex. 33. Cohen likewise asserts he did not find
anyone confused by the fact that he lied about his sales being “potential” when he had already sold
millions of shares. Opp. at 35. But even the news he cites only refers to an “intent” to sell, not
that actual sales had already occurred. Id. Moreover, as Cohen well knows, the record confirms
that “more than 10” news outlets reached out to the Company for clarification, and its own advisor
indicated that he could not tell whether sales were occurring or might later occur at any time “as
late as Jul 31, 2023.” Ex. 34.8 Regardless, Cohen cannot dispute the huge back-end decline on
August 19, 2022 when investors learned the truth of his actual sales, thwarting any price impact
argument. ¶12.
       C.      Cohen’s Claims Concerning Damages Are Meritless

       In reliance on a widely discredited misinterpretation of Comcast Corp. v. Behrend, Cohen


8
  Defendants also assert Cohen’s lie about sales being merely potential was a “general” statement
unworthy of attention. Opp. at 35. Not so. Both that statement and the ultimate disclosure of the
truth went precisely to the same narrow, highly relevant information: whether Cohen had actually
dumped his entire stake.


                                                18
       Case 1:22-cv-02541-TNM Document 119 Filed 06/21/24 Page 25 of 32




claims that damages cannot be calculated on a Class-wide basis. Opp. at 36-37 (citing 569 U.S.
27, 33, 35 (2013)). The Supreme Court has held that the out-of-pocket measure described by Dr.

Cain is the “correct measure of damages” in securities fraud cases. Affiliated Ute Citizens of Utah
v. United States, 406 U.S. 128 (1972).         Since Comcast was decided, federal courts have
unanimously rejected the argument Cohen advances by ruling that the out-of-pocket measure of
damages is consistent with Comcast, with damages easily measured on a class-wide basis
regardless of the purported new or unique circumstances a defendant alleges exist. See, e.g., Sayce
v. Forescout Techs., Inc., No. 20-cv-00076-SI, 2024 U.S. Dist. LEXIS 94700, at *23-41 (N.D.
Cal. May 28, 2024) (concluding that an out-of-pocket damages model is flexible enough to control
for investors’ reaction to a merger and differentiate between corrective disclosures); City of Sunrise
Firefighters’ Pension Fund v. Oracle Corp., No. 18-cv-04844-BLF, 2022 U.S. Dist. LEXIS 83836,
at *26-28 (N.D. Cal. May 9, 2022) (collecting cases where securities classes were certified and
identical arguments concerning damages were rejected).9
       Cohen’s claim that price movements attributable to the short squeeze cannot be
disentangled from price movements related to his misrepresentations is equally meritless. There
is no need to disentangle anything because Cohen exacerbated the short squeeze and is responsible
for it. Still, even assuming disentanglement ultimately proves necessary, it is irrelevant now
because that is a merits inquiry into loss causation. See, e.g., Hatamian v. Advanced Micro
Devices, Inc., No. 14-cv-00226 YGR, 2016 U.S. Dist. LEXIS 34150, at *27-28 (N.D. Cal. Mar.
16, 2016) (observing that disentanglement has nothing to do with a damages model). Dr. Cain
does not need to disaggregate inflation, opine on loss causation, or calculate damages because none
are required at this stage. See, e.g., In re Banc of Cal. Sec. Litig., 326 F.R.D. 640, 651 (C.D. Cal.

9
  See also In re Qualcomm Inc. Sec. Litig., No. 17cv121-JO-MSB, 2023 U.S. Dist. LEXIS 47016,
at *53 (S.D. Cal. Mar. 20, 2023) (ruling that an event study is sufficient to isolate different
misrepresentations and measure damages that stem from each); Ferris v. Wynn Resorts Ltd., No.
2:18-cv-00479-APG-DJA, 2023 U.S. Dist. LEXIS 35374, at *37-38 (D. Nev. Mar. 1, 2023); In re
Vale S.A. Sec. Litig., 2022 U.S. Dist. LEXIS 6433, at *68-71; Karinski v. Stamps.com, Inc., No.
CV 19-1828-MWF (SKx), 2020 U.S. Dist. LEXIS 209256, at *21-22 (C.D. Cal. Nov. 9, 2020); In
re Snap Inc. Sec. Litig., 334 F.R.D. 209, 217-18 (C.D. Cal. 2019).


                                                 19
        Case 1:22-cv-02541-TNM Document 119 Filed 06/21/24 Page 26 of 32




2018) (emphasizing that plaintiffs have no burden to disaggregate confounding information at
class certification).
     V.         Plaintiff’s Claims Are Typical of the Class

        Plaintiff’s claims are typical because they all arise from Cohen’s misrepresentations,
omissions, manipulation of BBBY securities, and a common scheme to defraud the Class. The
standard for typicality is “not demanding,” and these facts are sufficient to meet it. See N.J.
Carpenters Health Fund v. Royal Bank of Scot. Grp., PLC, No. 08-CV-5310 (DAB), 2016 U.S.
Dist. LEXIS 153804, at *13 (S.D.N.Y. Nov. 4, 2016). Cohen relies on irrelevant information,
key omissions of the record, and slanderous insinuations to allege that Plaintiff is atypical because
it did not rely on his false statements.
        First, Cohen erroneously suggests that Plaintiff did not rely on the veracity of the
misstatements when purchasing securities during the Class Period because Plaintiff engaged in
other transactions in BBBY securities during the Class Period. As an initial matter, Cohen lends
a misleading hue to these other transactions. At the start of the Class Period, Plaintiff was already
long on BBBY. Cohen holds the illogical position that investors should buy shares immediately
after a statement is made. Opp. at 40. Law and reality contradict this assumption. Plaintiff held
shares throughout the Class Period that it could have otherwise sold if it had actual knowledge of
Cohen’s pump and dump scheme.              “There is no reason to draw any legal distinction between

fraudulent statements that wrongfully prolong the presence of inflation in a stock price and
fraudulent statements that initially introduce that inflation.”           FindWhat Inv’r Grp. v.
FindWhat.com, 658 F.3d 1282, 1316 (11th Cir. 2011). And real-world investors do not buy shares
the minute a fraudulent statement.
        Far from “bet[ting] against Cohen at every turn,” Cohen Opp. at 39, Plaintiff increased its
long position during the Class Period. At no time during the Class Period was Plaintiff net short
on BBBY securities. Instead, Plaintiff had a net increase in its holdings by 99,111 BBBY shares
during the Class Period (purchasing 226,611 shares while selling, on two different days, 11,500



                                                    20
       Case 1:22-cv-02541-TNM Document 119 Filed 06/21/24 Page 27 of 32




shares and 116,700 shares), in addition to purchasing many call options during the Class Period.
ECF No. 14-4 at 2.

       Ignoring the positive side of the ledger, Cohen points to Plaintiff’s (i) sale of 11,500 shares
(Cohen incorrectly wrote $14,000) of BBBY securities on August 12, 2022 – out of 50,900; (ii)
sale of covered calls on August 12 15, and 17, 2022; and (iii) sale of 116,700 Bed Bath shares on
August 17. Opp. at 39-41; ECF No. 14-4 at 2. These transactions do not in any way undercut
reliance given that Plaintiff increased its holdings during the Class Period. On August 17, 2022,
in particular, Plaintiff purchased 85,000 BBBY shares on net; the sale of 116,700 shares that day
was a result of the bank not allowing Plaintiff to keep that exposure. Ex. 35 (David Coti (“D.
Coti”) Dep.) at 229. The sale of covered calls during the Class Period served to generate a
premium, and a partial hedge for Plaintiff’s long position in BBBY securities. Ex. 35 (D. Coti
Dep.) at 158, 198-99, 203-04, 237-38, 356-58, 360-61. Nothing about any of this is controversial
or could possibly render Plaintiff atypical.
       Courts have routinely rejected similar arguments where a class representative is a net
purchaser of defendants’ shares. See, e.g., Ap-Fonden v. Goldman Sachs Grp., Inc., No. 18-CV-
12084 (VSB) (KHP), 2024 U.S. Dist. LEXIS 64060, at *31 (S.D.N.Y. Apr. 5, 2024); W. Palm
Beach Police Pension Fund v. DFC Glob. Corp., No. 13-6731, 2016 U.S. Dist. LEXIS 102304, at
*27-29 (E.D. Pa. Aug. 4, 2016). Courts have even granted class certification when a class
representative is an “in-and-out” trader who sold all shares prior to a corrective disclosure. See,
e.g., In re Petrobras Sec. Litig., 312 F.R.D. 354, 360 (S.D.N.Y. 2016) (ruling that in-and-out
trading is not atypical in securities class actions); McGuire v. Dendreon Corp., 267 F.R.D. 690,
699 (W.D. Wash. 2010) (similar).
       Second, Cohen erroneously suggests that, after the Schedule 13D was filed on August 16,
2022, Plaintiff maintained a strategy adverse to the Class.        This makes little sense and is
unsupported by the record. Plaintiff purchased additional BBBY shares on August 17 and 18,
2022. ECF No. 14-4 at 2. Plaintiff also testified that he relied on Cohen’s Tweet and 13D filing
in deciding to purchase additional securities. Ex. 35 (D. Coti Dep.) at 244-45, 250-51, 343-45.


                                                 21
        Case 1:22-cv-02541-TNM Document 119 Filed 06/21/24 Page 28 of 32




Contrary to Cohen’s mischaracterization of admittedly confusing deposition testimony from a
native French speaker, Plaintiff never conceded that BBBY’s stock price during the Class Period

was unrealistic.10 And, indeed, Plaintiff went on to increase its position in BBBY securities. ECF
No. 14-4 at 2.
        Third, Cohen erroneously states that Plaintiff first purchased stock during the Class Period
only after seeing a news article stating Cohen had sold his shares. Opp. at 40. Not so. The news
article referenced by Plaintiff in a WhatsApp exchange was based on the Form 144 filing, which
became public after the market closed on August 17, 2022. See Cohen’s Ex. 3 at BRATYA
000748 (dated 8/17/2022; 10:11 pm) (including link to incorrect article—later corrected—that
Cohen had sold his shares). Plaintiff’s purchases thus took place during trading hours on August
17th prior to seeing the article.
        Fourth, Cohen argues that because Plaintiff speculated that Cohen may have sold his shares
on August 17, 2022, Plaintiff could not have relied upon Cohen’s false statements. This argument
is mistaken on several levels. Plaintiff’s purchases on August 17, 2022 were made before Plaintiff
saw the news article Cohen cites. Id. Record evidence demonstrates that, on August 17, 2022,
Plaintiff’s two members D. Coti and Edouard Coti (“E. Coti”) also were fooled by the false
reference to potential sales in Cohen’s Form 144, just like other class members: “it’s [i.e., the Form
144] just the right to sell within 6 months,” Cohen’s Ex. 3 at BRATYA_000749, … and “so
[Cohen] doesn’t want the stock price to drop before selling.” Id. More importantly, Plaintiff
speculated that a potential sale of Cohen’s holdings was a harbinger for a sale or spinoff of buybuy
BABY. See Cohen’s Ex. 3 at BRATYA_000749 (stating that “I think they will sell Buybuybaby
and on the announcement he will get out.”); Ex. 35 (D. Coti Dep.) at 407-09. Cohen further


10
   D. Coti. Dep. at 359-60 (“Q. I’m not sure what you mean. Are you saying it’s true that other
people were saying Bed Bath & Beyond is a sell or that you agreed that Bed Bath & Beyond is a
sell? A. No, it is true that these people say, for them, that it’s an irrealistic [sic] valuation. What
they have said, they are prone to give their opinion, but -- so because some analyst, what they say
is true, their understanding of the situation is true, but it doesn’t mean that there is not unlocked
potential”).


                                                  22
       Case 1:22-cv-02541-TNM Document 119 Filed 06/21/24 Page 29 of 32




confuses corrective disclosures with actual knowledge of the fraud. A corrective disclosure does
not mean the full truth has been revealed, and the Coti brothers were not clairvoyants with advance

knowledge of Cohen’s pump and dump scheme. The worst that can be said about Plaintiff is that
it was duped a few days longer than some other investors. Ex. 35 (D. Coti Dep.) at 408-09. They
then realized that Cohen had “stabbed [them] in the back.” Ex. 35 (D. Coti Dep.) at 409.
       Cohen also argues that Plaintiff is atypical because it purchased BBBY securities at much
lower prices after August 18, 2022. Opp. at 41. But courts have repeatedly rejected this argument
because such purchases “are irrelevant to the class claims and issues before the court.” Ap-Fonden,
2024 U.S. Dist. LEXIS 64060, at *32; see also In re Monster Worldwide, Inc., 251 F.R.D. 132,
135 (S.D.N.Y. 2008) (post-disclosure purchases have “no bearing on whether or not [the class
representative] relied on the integrity of the market during the class period”).
     VI.       Plaintiff Will Fairly and Adequately Protect the Interests of the Class

       Cohen does not challenge that Plaintiff can prosecute the “interests of the class through
qualified counsel,” and fails to show “any antagonistic or competing interests with the unnamed
members of the Class.” Meijer, Inc. v. Warner Chilcott Holdings Co. III, 246 F.R.D. 293, 302
(D.D.C. 2007).     Speculative conflicts are never enough, and Cohen hasn’t shown even a
speculative conflict—just slander cooked up by his counsel. Nat’l Veterans Legal Servs. Program
v. U.S., 235 F. Supp. 3d 32, 41 (D.D.C. 2017).

       All but one of the WhatsApp chats that Cohen relies on are from 2021 and relate to the
Coti brothers’ discussion concerning GameStop, not BBBY. See Cohen’s Ex. Nos. 4, 11, 12, 13,
14, 48, 51.11 Cohen has produced zero evidence to support that any of the individuals discussed


11
   The only reason Cohen has these documents is because Plaintiff offered to produce them if
Cohen produced GameStop related documents relevant to this case. Cohen refused to comply,
forcing Plaintiff to seek relief from the Court, but Plaintiff kept its end of the bargain despite no
compulsion. These documents are not even discoverable. Courts “ . . . routinely deny general
discovery into a plaintiff’s trading and investment strategy in other securities.” In re New
Century, No. CV 07-0931 DDP (FMOx), 2009 U.S. Dist. LEXIS 144557, at *13 (C.D. Cal. Dec.
7, 2009).


                                                 23
       Case 1:22-cv-02541-TNM Document 119 Filed 06/21/24 Page 30 of 32




in these chats are Class Members. To distort the record, Cohen omits that Plaintiff shorted
GameStop stock because it believed the stock’s value became detached from reality, but did not

believe or act the same about BBBY. Ex. 35 (D. Coti Dep.) at 118, 309. These hard facts directly
contradict Cohen’s conjecture that most investors in BBBY during the Class Period were crooked
manipulators who did not rely on his misleading statements.
       Moreover, the WhatsApp chat during the Class Period Cohen references shows that
Plaintiff continued to buy shares because of Cohen and his turnaround strategy, just like other
Class Members: “they will sell Buybuybaby and on the announcement [Cohen] will get out.”
Cohen Ex. 3 at BRATYA_000749. In a subsequent conversation in the same exhibit, the Coti
brothers discussed a CNBC article reporting that the Company may still sell buybuy BABY, and
sent each other smiling face emojis.      Id. at BRATYA_000750. The exhibit also shows that
“Barbelaii” is indeed the nickname of a friend just as David Coti testified.                    Id. at
BRATYA_000751. It also shows the brothers used the see no evil monkey emoji to express
disbelief, id.; see https://emojipedia.org/see-no-evil-monkey, contradicting Cohen’s slanderous
accusations and false insinuations about their motives. Opp. at 6 n.11. As for the phrase “ape
mongols,” D. Coti testified that he was speculating about its meaning, Ex. 35 (D. Coti Dep.) at
383-85, 410-12, and E. Coti testified that he used the phrase because meme stock investors use
these types of derogatory terms in jest. Ex. 36 (E. Coti Dep.) at 48-50. He is right. See
https://en.wikipedia.org/wiki/R/wallstreetbets (explaining that r/ WallStreetBets is known for its
profane humor with members often referring to themselves as “autists,” “retards,” “degenerates,”
and “apes”). On top of citing no authority to support his arguments, Cohen also distorts the facts
with cherry-picked, isolated quotes to concoct antagonism with the Class that simply does not
exist. Cohen’s real complaint is that Plaintiff has zealously litigated this case to develop the claims
and advance this litigation forward, and Cohen cannot avoid facing either a certified Class of
defrauded investors or a trial before a jury of his peers.




                                                  24
       Case 1:22-cv-02541-TNM Document 119 Filed 06/21/24 Page 31 of 32




   VII.        Conclusion

       For all of these reasons and for the reasons explained in the opening brief, Plaintiff

respectfully requests that the Court certify the Class, appoint Plaintiff as the Class Representative,
and appoint Pomerantz LLP and Bronstein, Gewirtz & Grossman, LLC as Class Counsel.

Dated: June 21, 2024                   Respectfully submitted,

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                                                 25
Case 1:22-cv-02541-TNM Document 119 Filed 06/21/24 Page 32 of 32




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                               26
